      Case 3:18-cr-04683-GPC Document 265-1 Filed 08/06/21 PageID.2996 Page 1 of 7



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 7 United States of America
 8                          UNITED STATES DISTRICT COURT

 9                         SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,            Case No. 18-cr-4683-GPC
11
                Plaintiff,                DECLARATION OF ASSISTANT U.S.
12                                        ATTORNEY MELANIE K. PIERSON IN
          v.                              SUPPORT OF UNITED STATES’ RESPONSE
13                                        TO MOTION TO COMPEL DISCOVERY
     JACOB BYCHAK et. al.,                REGARDING INFORMANT
14
15              Defendants.

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          I, Melanie K. Pierson, hereby submit the following declaration in
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     support   of   the   United   States’   response   and   opposition     to   the
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     defendants’ motion for discovery regarding an informant in this case.
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     I state, under penalty of perjury, that I know the following to be
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     true, based on my review of the files and records of the case:
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          1.   I have been employed as an Assistant United States Attorney
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               in the United States Attorney’s Office for the Southern
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               District    of   California   since    1987.   I   am   one   of   the
26
               prosecutors assigned to the investigation and prosecution of
27
               Jacob Bychak, Mark Manoogian, Mohammed Abdul Qayyum and Petr
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     Case 3:18-cr-04683-GPC Document 265-1 Filed 08/06/21 PageID.2997 Page 2 of 7




 1            Pacas    in    Criminal    Case       No,    18cr-4683-GPC.    That     case   is

 2            currently set for trial beginning November 30, 2021.

 3      2.    On December 23, 2014, the United States obtained a search

 4            warrant for the email account of defendant Mark Manoogian at

 5            Company A. Six months later, the government obtained warrants

 6            for four other Company A email accounts, and the email

 7            account of Daniel Dye. The search warrants were provided to

 8            the defendants in this case as part of discovery production

 9            4, on January 23, 2019. The records obtained pursuant to

10            these warrants were disclosed to the defense in production 3

11            on December 19, 2018, with a bates number prefix noting that

12            they    were    emails    which       also    provided   the   last     name   or

13            initials of the holder of the email account. Not every email

14            account held data within the scope the warrant, so there are

15            not records provided for each email address sought in the

16            warrants. In setting out the probable cause, the affidavits

17            in support of the warrants did not rely on internal Company

18            A documents obtained via Spamhaus, but instead relied upon

19            emails    obtained       from   the     initial    warrant     and/or    emails

20            obtained from a hosting company.

21      3.    On September 22, 2016, the United States issued a subpoena

22            duces tecum for the records of the company that employed

23            Daniel Dye. On September 23, 2016, the United States issued

24            subpoenas duces tecum to Company A and five other related

25            companies. The records obtained via these subpoenas have been

26            disclosed to the defendants in discovery, with a bates number

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     Case 3:18-cr-04683-GPC Document 265-1 Filed 08/06/21 PageID.2998 Page 3 of 7




 1            prefix that would identify the origin of the records.             I am

 2            informed by the assigned paralegal that of the approximately

 3            1,904,907    pages   of   discovery    provided   to   date,      about

 4            1,365,663 pages, or about 70%, were obtained via these six

 5            subpoenas.    For ease of presentation at trial, the government

 6            intends to offer the internal Company A records obtained via

 7            grand jury subpoenas as evidence in trial, although they may

 8            be   duplicative     of   documents   obtained    earlier    in     the

 9            investigation via search warrant or from hosting companies

10            or ISPs, as documented in the reports made available to the

11            defense.

12      4.    The source of information at Spamhaus (Spamhouse Source, or

13            SS) indicated to the FBI in 2014 that Spamhaus received

14            information from an anonymous private party (Anon-1) who

15            appeared to be a Company A insider. SS provided the email

16            address of Anon-1 to the FBI. On June 3, 2014, the FBI reached

17            out to Anon-1 via email. Anon-1 responded to the FBI via

18            email on June 3 and 11, 2014, with questions about how his/her

19            identity could be protected. The FBI requested that they

20            speak by phone or in person. The FBI did not, however,

21            ultimately meet with or speak by telephone with anyone who

22            identified as Anon-1. The FBI never received any emails from

23            Anon-1 after June 11, 2014. The email exchange between Anon-

24            1 and the FBI, together with a report providing the above

25            information, was disclosed to the defense on August 6, 2021.

26            This information was not disclosed previously because the

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     Case 3:18-cr-04683-GPC Document 265-1 Filed 08/06/21 PageID.2999 Page 4 of 7




 1            contact did not result in the receipt of any evidence by the

 2            government.

 3      5.    On January 10, 2018, counsel for the individual whom SS

 4            speculated might be Anon-1 provided four documents to the

 5            government from his client (referred to herein as CY). Those

 6            documents included a 10-page document entitled “Potential

 7            helpful info” and the name of the client, a document entitled

 8            “3-info.txt,”    a   document   entitled    “message_from_kim_and-

 9            jake.168.129.txt”         and       a       document        entitled

10            “yahoo_bulk_delivery-report.168.129.txt.”         These    documents

11            were disclosed to the defense on August 6, 2021, as potential

12            advance Jencks material.

13      6.    An FBI report of the interview of CY, in the presence of

14            counsel, in December of 2017 was disclosed to the defense in

15            discovery as part of production 2 on December 4, 2018. The

16            report of interview does not indicate that CY identified

17            him/herself as the anonymous private party who provided

18            information to Spamhaus or communicated with the FBI in 2014.

19            The report of interview indicates that CY was employed by a

20            vendor supplying services to Company A, which was acquired

21            by Company A in 2011. The report indicates that CY remained

22            employed for three months after the acquisition, and then

23            began working for a firm owned in part by the owner of Company

24            A. The report further indicates that CY left that employment

25            in mid-2013 to form an unrelated firm.

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     Case 3:18-cr-04683-GPC Document 265-1 Filed 08/06/21 PageID.3000 Page 5 of 7




 1      7.    The reports of contact with SS were provided in discovery

 2            production 2 on December 4, 2018. The reports set forth the

 3            information provided by SS, including any documents provided,

 4            and identify the date that such information and/or documents

 5            were provided.     The government sent a letter to all defense

 6            counsel by email on March 28, 2019, indicating that the

 7            documents    provided   by    SS   to   the    government   during   the

 8            interview of SS in San Diego on June 2, 2014, were provided

 9            in a discrete discovery production (number 6, which included

10            an index), which was provided that same date.           One additional

11            file provided in digital format during that meeting was

12            disclosed on August 6, 2021, after it was noted it was not

13            included in Production 6.

14      8.    The bulk of the emails between the FBI and SS were produced

15            in discovery productions 25 through 27, between September

16            30, 2020, and March 9, 2021. A few additional emails have

17            been produced in later discovery productions as they were

18            received. To the extent that there were any documents sent

19            by SS to the FBI, they were included in the discovery as a

20            separate document immediately following the email. In this

21            manner,   the   defense      can   determine    what   documents     were

22            provided to the government via email by SS, and the date the

23            documents were provided.

24      9.    The production of the emails between the FBI and Spamhaus

25            took some time, because as the prosecution team was reviewing

26            the emails, a zip file was found which contained an email

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     Case 3:18-cr-04683-GPC Document 265-1 Filed 08/06/21 PageID.3001 Page 6 of 7




 1            from outside counsel for Company A. On September 23, 2020,

 2            the prosecution team requested a review of the zip file and

 3            all remaining emails between the FBI and Spamhaus by a filter

 4            team. Review of those materials was conducted by a filter

 5            team,     and        after    December        3,     2020,    the       non-privileged

 6            materials were released by the filter team to the prosecution

 7            team,   and      thereafter       disclosed           to     the    defense    in    the

 8            discovery productions discussed above. The prosecution team

 9            did not examine any of the materials that may have been

10            withheld by the filter team.

11      10.   The United States has provided the defense with the reports

12            of contacts with SS, which document the information and

13            documents provided, and the dates upon which that contact

14            occurred. The United States has also provided the defense

15            with the emails between the FBI and SS, and any attachments

16            that were sent to the FBI with those emails, again which show

17            the   dates      of    transmission.          The     defense      is    therefore    in

18            possession of the information received by the government from

19            SS and the dates upon which the information was received.

20            There is no evidence in any of these materials that the FBI

21            directed        SS    to     attempt     to        obtain    internal      Company     A

22            documents.       To     the    extent     that        SS     provided      information

23            regarding the origin of the information SS provided to the

24            government, that origin is documented in the reports and

25            emails.    The        information      known         to     the    prosecution      team

26            regarding the origin of the information provided by SS has

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      Case 3:18-cr-04683-GPC Document 265-1 Filed 08/06/21 PageID.3002 Page 7 of 7




 1             been disclosed, and the prosecution team has no further

 2             information in its possession to provide regarding that

 3             subject.

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     DATED:    August 6, 2021
 5                                          MELANIE K. PIERSON
                                            Assistant U.S. Attorney
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